               Case 5:22-cr-00357-F Document 6 Filed 09/07/22 Page 1 of 4


Prob 12C (10/99)


                       UNITED STATES DISTRICT COURT
                                              for the
                                Western District of Oklahoma

 Amended Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Oscar Amos Stilley                           Case Number: CR-22-00357-001-F

Name of Judicial Officer: The Honorable Stephen P. Friot (Jurisdiction was transferred from the
Northern District of Oklahoma to the Western District of Oklahoma on August 24, 2022)

Date of Original Sentence: April 23, 2010

Original Offense: Count 1; Conspiracy to Defraud the United States in violation of 18 U.S.C. §
371; Count Three; Tax Evasion and Aiding and Abetting in violation of 26 U.S.C. § 7201 and 18
U.S.C. § 2; Count Four; Tax Evasion and Aiding and Abetting in violation of 26 U.S.C. § 7201
and 18 U.S.C. § 2.

Original Sentence: 180 months custody, 3 years supervised release

Type of Supervision: Supervised Release         Date Supervision Commenced: August 10, 2022

Previous Court Action: None

Assistant U.S. Attorney: Matt Dillon                         Defense Counsel: To be assigned


                                  PETITIONING THE COURT

[X]      Amend the petition filed August 24, 2022, to add violation Nos. 2, 3, and 4.

The probation officer believes that the offender has violated the following condition(s) of
supervision:

   Violation       Nature of Noncompliance
   Number

        1          Violation of Special Condition No. 3: The defendant shall abide by the “Special
                   Computer Restriction Conditions” previously adopted by the Court, as follows:

                   (1) The defendant shall disclose all email accounts, internet connections and
                   internet connection devices, including screen names and passwords, to the
                   probation officer; and shall immediately advise the probation officer of any
                   changes in his or her email accounts, connections, devices, or passwords;



                                                 1
               Case 5:22-cr-00357-F Document 6 Filed 09/07/22 Page 2 of 4


Prob 12C (10/99)                                                                         Oscar Amos Stilley
                                                                                        CR-22-00357-001-F




                   (2) The probation officer shall have authority to monitor all computer activity,
                   to include all email or internet connections, to include but not limited to
                   installation of remote monitoring software. Unless waived by the probation
                   officer, the cost of the remote monitoring software shall be paid by the
                   defendant;

                   (3) The defendant shall not access any on-line service using an alias, or access
                   any on-line service using the internet account, name, or designation of another
                   person or entity; and report immediately to the probation officer access to any
                   internet site containing prohibited material;

                   (4) The defendant is prohibited from using any form of encryption,
                   cryptography, stenography, compression, password-protected files, or other
                   methods that limit access to, or change the appearance of, data and/or images;

                   (5) The defendant is prohibited from altering or destroying the records of
                   computer use, including the use of software or functions designed to alter, clean
                   or “wipe” computer media, block monitoring software, or restore a computer to
                   a previous state; and

                   (6) If instructed, the defendant shall provide all personal and business telephone
                   records and credit card statements to the probation officer.

                   On August 10, 2022, Oscar Amos Stilley violated this condition of supervised release
                   when he refused to allow the installation of remote monitoring software to occur.

        2          Violation of Special Condition #2: The defendant shall abide by the “Special
                   Financial Conditions” previously adopted by the Court, as follows:
                   (1) The defendant shall maintain a checking account in the defendant’s name and
                   deposit into this account all income, monetary gains or other pecuniary proceeds,
                   and make use of this account for payment of all personal expenses. All other bank
                   accounts must be disclosed to the probation officer.
                   (2) The defendant shall not make application for any loan or enter into any credit
                   arrangement, without first consulting with the probation officer.

                   (3) The defendant shall disclose all assets and liabilities to the probation officer. The
                   defendant shall not transfer, sell, give-away, or otherwise convey any asset, without
                   first consulting with the probation officer.

                   (4) If the defendant owns or maintains interest in any profit or nonprofit entity, you
                   shall, upon request, surrender and/or make available for review, any and all
                   documents and records of said profit or nonprofit entity to the probation officer.




                                                     2
               Case 5:22-cr-00357-F Document 6 Filed 09/07/22 Page 3 of 4


Prob 12C (10/99)                                                                            Oscar Amos Stilley
                                                                                           CR-22-00357-001-F


                   (5) The defendant shall, upon request of the probation officer, complete a personal
                   financial affidavit and authorize release of any and all financial information, to
                   include income and tax return records, by execution of a Release of Financial
                   Information form, or by any other appropriate means.
                   On August 10, 2022, Mr. Stilley was provided a Prob 48 (Net Worth Statement) and Prob
                   48B (Monthly Cash Flow Statement) and was instructed to complete and submit the
                   documents to the probation office by September 6, 2022. Mr. Stilley submitted the
                   documents on September 5, 2022; however, they were incomplete. Specifically, Mr.
                   Stilley answered “5th Amendment” in several sections of the Prob 48 (Net Worth
                   Statement), and wrote on the Prob 48B (Monthly Cash Flow Statement) that “financial
                   information to be supplied by bank statements in lieu of filling out this form.” He also
                   provided the probation office with a 4-page document detailing his reasoning for not
                   completing the forms as instructed. It is noted that Mr. Stilley has submitted copies of
                   his most recent paystubs, as well as tax returns for the years of 2020 and 2021 to the
                   probation office; however, additional documentation has not been received.

        3          Violation of Special Condition #9: The defendant shall disclose all email accounts,
                   Pay Pal accounts, internet connections and communication devises, to include all
                   screen names and passwords. Your use of email, internet connections, or an internet
                   connection service will be restricted and/or monitored by monitoring software and
                   otherwise, with the costs of remote computer monitoring to be paid by the
                   defendant. The defendant will be prohibited from accessing any on-line service
                   using an alias or the internet account, name or designation or another person or
                   entity. The defendant will be prohibited from altering or using any form of
                   encryption or other methods that limit access to, or change, the appearance of data
                   or images. The defendant will be prohibited from altering or destroying records of
                   computer use.
                   As of today’s date, Mr. Stilley has failed to provide the probation office with his password
                   to his email account or login and password information regarding his Pay Pal account.
                   He has also refused to allow the probation office to install monitoring software on his
                   computer and cell phone, as reflected in Violation Number 1.

        4          Violation of Standard Condition #2: The defendant shall report to the probation
                   officer as directed by the court or probation officer and shall submit a truthful and
                   complete a written report within the first five days of each month.
                   On August 10, 2022, Mr. Stilley was provided with a Monthly Supervision Report (Prob
                   8) and instructed to complete and submit the report to the probation office by
                   September 6, 2022. Mr. Stilley submitted the monthly report on September 5, 2022;
                   however, it was incomplete. Specifically, Mr. Stilley wrote “5th Amendment” as an
                   answer to several of the questions on the report. He also provided the probation office
                   with a 4-page document detailing his reasoning for not completing the document as
                   instructed, and his disagreement with the questions on the document.




                                                      3
               Case 5:22-cr-00357-F Document 6 Filed 09/07/22 Page 4 of 4


Prob 12C (10/99)                                                              Oscar Amos Stilley
                                                                             CR-22-00357-001-F


U.S. Probation Officer Recommendation:

[X]      The term of supervision should be revoked.

I declare under penalty of perjury that the foregoing is true and correct.


Executed on September 7, 2022




Aric Holloway
Supervisory U.S. Probation Officer



THE COURT ORDERS

[X]    To amend the Petition filed on August 24, 2022
[ ]    No Action
[ ]    Other




September 7, 2022
Date




                                                  4
